         Case 2:16-cv-02105-JAR Document 581 Filed 01/28/21 Page 1 of 2




                 IN THE UNITED STATES DISTRICT COURT FOR THE
                             DISTRICT OF KANSAS

STEVEN WAYNE FISH, et al.,                      )
                                                )
                 Plaintiffs,                    )
                                                )        Case No. 16-2105-JAR-JPO
v.                                              )
                                                )
SCOTT SCHWAB, in his official capacity          )
as Secretary of State for the State of          )
Kansas,                                         )
                                                )
                 Defendant.                     )
                                                )


PLAINTIFFS’ MOTION FOR AN AWARD OF ATTORNEYS” FEES AND EXPENSES
                              INCURRED
       Plaintiffs in this matter hereby move the Court for an award of reasonable attorneys’ fees

and expenses incurred in this litigation, pursuant to Rule 54(d), 52 U.S.C. § 10310(e), and this

Court’s Order, see Doc. 546.

       The amounts sought, and the grounds justifying the award to Plaintiffs, are set forth in a

Memorandum in support of this motion, with accompanying exhibits.



Dated this 28th day of January, 2021



                                             Respectfully submitted,
        Case 2:16-cv-02105-JAR Document 581 Filed 01/28/21 Page 2 of 2




/s/ Sharon Brett                           /s/ Dale E. Ho
SHARON BRETT (#28696)                      DALE HO*
American Civil Liberties Union of Kansas   R. ORION DANJUMA*
6701 W 64th St., Suite 210                 SOPHIA LIN LAKIN*
Overland Park, KS 66202                    American Civil Liberties Union Foundation,
Phone: (913) 490-4100                      125 Broad St.
Fax: (913) 490-4119                        New York, NY 10004
sbrett@aclukansas.org                      Phone: (212) 549-2693
                                           dale.ho@aclu.org
                                           odanjuma@aclu.org
                                           slakin@aclu.org


NEIL A. STEINER*                           ANGELA M. LIU*
REBECCA KAHAN WALDMAN*                     Dechert LLP
Dechert LLP                                35 West Wacker Drive
1095 Avenue of the Americas                Suite 3400
New York, NY 10036                         Chicago, Illinois 60601-1608
T: (212) 698-3822                          Phone: (312) 646 5816
F: (212) 698-3599                          Fax: (312) 646 5858
neil.steiner@dechert.com                   angela.liu@dechert.com
rebecca.waldman@dechert.com


Counsel for Plaintiffs                     * admitted pro hac vice
